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                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                           )
In re                                      ) Chapter 15
                                           )
MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                           )
           Debtor in a Foreign Proceeding. )
                                           )

             ORDER GRANTING REQUEST FOR EMERGENCY HEARING
                           [Relates to Dkt. No. ___]

        The Court hereby GRANTS the Debtor’s request for emergency consideration of

Debtor’s Emergency Motion for Continuance of Deposition [Dkt. No. ___]. Therefore, it is

hereby ORDERED that:

        A hearing on the Debtor’s Emergency Motion for Continuance of Deposition [Dkt. No.

___] is set to occur on April 16, 2014 at 9:30 a.m. (Prevailing Central Time) and will take

place before the Honorable Stacey G.C. Jernigan, at the United States Bankruptcy Court,

Northern District of Texas, 14th Floor, 1100 Commerce Street, Dallas, Texas 75252.

                                # # # END OF ORDER # # #


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